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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------x                      11/9/2020

L.V. on behalf of herself and her minor child, J.V.2.,

                                                      Plaintiffs,     INFANT COMPROMISE
                                                                      ORDER
                           -against-
                                                                      19-CV-5451 (AT) (KHP)
NEW YORK CITY DEPARTMENT OF
EDUCATION,

                                                 Defendant.

------------------------------------------------------------------x

          Upon the affidavit of L.V., the infant’s parent and guardian, and the declaration of Oroma

Mpi-Reynolds, Esq., attorney for the Plaintiffs L.V. and J.V.2 herein, and due deliberation having

been had thereon, and upon consideration of the issues and claims in the litigation and the

discussions related to settlement in resolution of monetary damages in this case, and it appearing that

the best interest of the infant, J.V.2, would be served by approval of the proposed compromise in

settlement, now, on the motion of Oroma Mpi-Reynolds, Esq., attorney for the Plaintiffs, it is

hereby:

          ORDERED, that L.V., the parent and guardian of the infant, is authorized and empowered, in

the interest of her child, J.V.2, to settle and compromise the infant’s potential claims for money

damages against the New York City Department of Education, and it is further,

          ORDERED that the Court approves the settlement of $10,000.01 to be paid by the New York

City Department of Education to Plaintiffs’ attorney to settle all claims for monetary damages for

J.V.2 between the parties,

          ORDERED that the amount of $10,000.01 paid to Plaintiffs’ attorney for J.V.2 shall be

deposited in an interest bearing account in the name of infant, J.V.2, at a branch of a bank of Plaintiff
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L.V.’s choosing (“Bank”), and to be held for the sole use and benefit of infant, J.V.2, in an account

paying the highest rate of interest available, until J.V.2 reaches the age of eighteen years, or as

further ordered by the Court, and it is further,

        ORDERED, that said Bank is authorized and directed to maintain one hundred percent

(100%) of said funds in a form of deposit in said Bank yielding the highest rate of interest available,

provided that said funds shall be in such a form that it will be available to infant, J.V.2, when he

attains the age of eighteen years, and it is further,

        ORDERED, that no withdrawals from the account shall be made except if the parent makes

an application to this Court demonstrating a financial need that will benefit the child and the Court

approves such a request, and it is further,

        ORDERED, that when infant J.V.2 has attained the age of eighteen years, upon demand

therefore, together with presentation of the proper proof of said age, said Bank is directed to pay

over to infant J.V.2 all monies then on deposit in said account, together with any interest accrued

thereon, and it is further,

        ORDERED, that in the event of the death of infant J.V.2 prior to the payment date as set

forth above, and in the event that infant J.V.2 has not designated a beneficiary or beneficiaries, then

payment shall be immediately made to the estate of infant J.V.2, and it is further,

        ORDERED, that upon full compliance with all of the terms of this Order, Plaintiff L.V. is

authorized, empowered, and permitted to execute and deliver a general release and any other papers

necessary to effectuate the settlement herein, and it is further,

        ORDERED, that this Court retains jurisdiction over this action for enforcing this compromise

order and for enforcing the terms of the underlying settlement, and for entering this compromise

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order directing the disposition of funds.



Dated: New York, New York



       November __9___, 2020



                                            SO ORDERED:



                                            ____________________________________
                                            KATHARINE H. PARKER
                                            UNITED STATES MAGISTRATE JUDGE




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